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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    ANDREW FRANCISCO, DC SBN #1619332
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700
     Andrew_francisco@fd.org
5
     Attorney for Defendant
6    DARAGH FINBAR HAYES
7
                               IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. 2:24-cr-00280-DJC
                                                 )
11                             Plaintiff,        )   RESPONSE TO ORDER TO SHOW CAUSE
                                                 )   WITH COUNSEL’S DECLARATION TO
12          vs.                                  )   THE MATTERS DESCRIBED HERE
                                                 )
13   DARAGH FINBAR HAYES,                        )
                                                 )
14                            Defendant.         )
                                                 )
15                                               )
16           I, Andrew Francisco, Assistant Federal Defender and assigned counsel for Daragh Hayes,
17   do respond here to the Court’s Order to Show Cause (ECF No. 50) and declare under penalty of
18
     perjury the matters here described:
19
     I. Introduction
20
             I submit this Response to the Court’s Order to Show Cause (ECF No. 50) regarding the
21
     citation to United States v. Harris and the nonexistent quotation in my Motion to Unseal ECF
22
     No. 16 (ECF No. 32), clarified only in part by my Reply (ECF No. 37). I acknowledge the
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     following errors, take full responsibility for them, and provide the following explanations as best
24
     I can, with supporting evidence, to address the Court’s concerns.
25
             My errors, misstatements and misquotes are these:
26
                  1. There is no case United States v. Harris, 761 F. Supp. 409, 414 (D.D.C. 1991).
27
                  2. There is a case Harris v. Murray sharing the citation 761 F.Supp. 409 but
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1                        a. It is from the Eastern District of Virginia in 1990 and
2                        b. Has nothing to do with 18 U.S.C. § 3509 or the issues raised in my
3                            Motion, Docket 32.
4                3. The case I meant to cite, and in my head had cited, was United States v.
5                    Broussard, 767 F. Supp. 1536, 1542 (D. Or. 1991) as it does address 18 U.S.C.
6                    § 3509(d).
7                4. However, nowhere in Broussard (nor in its case-related opinion at 767 F. Supp.
8                    1545 not addressing the matters raised in the Hayes pleadings) do the quotes I
9                    cited exist in Broussard, specifically:
10                       a. At page 6, “names and addresses” is nowhere in Broussard, and
11                       b. At page 10, “The legislative history indicates that Congress intended to
12                           shield the names and addresses of child victims and witnesses from public
13                           disclosure” is nowhere in Broussard.
14   II. How Did This Happen
15           A. Filing the Motion to Unseal, ECF 32
16           The initial Motion to Unseal, ECF 32, was filed by my assistant paralegal at 9:01 a.m.
17   See attached Exhibit A: Notice of Electronic Filing (NEF) for ECF 32. Because I had a status
18   conference in Mr. Hayes’ case scheduled for 9:00 a.m. that day, my goal was to file the Motion
19   to Unseal beforehand so I could reference it during the hearing so the district judge would know
20   generally the issues I was hoping to resolve. Once I drafted the Motion, I gave it to my assistant
21   paralegal for final proofreading. I did not ask for any cite check review. That being said, the
22   above-stated errors and my failure to seek third-person review were entirely my fault.
23           The Motion formally requested the Court unseal ECF No. 16. It focused on § 3509(d)’s
24   scope and our position that the government’s overbroad interpretation of § 3509(d) was
25   prejudicing Mr. Hayes’ ability to prepare his defense. Because I believed the motion was both
26   important and time-sensitive given the government’s reliance on this statute to restrict discovery
27   access, I tried to have it filed before the Status Conference. However, unlike case citations
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1    which are second nature to me, accurately citing the Congressional Record would have required
2    my additional research to ensure precision. Given my self-imposed time constraint of filing
3    before the forthcoming 9:00 a.m. status conference, I hastily drafted a paragraph incorrectly
4    introducing the legislative history through a case citation.
5            My citation to Harris was inadvertent and I have wracked my memory to try to recall
6    where I looked to come up with it, to no avail. I did not use and have never used AI (artificial
7    intelligence) to draft any of my motions. I am baffled to say where it came from, first in a case
8    name which does not exist, second from a district and year which does not match the citation
9    volume and page, and third, which never even addresses the Motion’s issues. It was an
10   inadvertent drafting error I cannot begin to explain.
11           I intended to rely on United States v. Broussard, 767 F. Supp. 1536 (D. Or. 1991), a
12   district court opinion briefly discussing18 U.S.C. § 3509(d)’s legislative history. Attached
13   Exhibit B is my Westlaw search history (backwards chronologically) from October 25, 2024,
14   through December 5, 2024. I repeatedly went to Broussard (10/26/24, 11/13/24, 11/14/24,
15   12/3/24, 12/4/24) as it was one of the only cases talking about the legislative history, though
16   none was on point for the issues and arguments I hoped to address.
17           My only search for Harris and the 761 F. Supp. case citation was December 3, 2024,
18   when I reviewed the government’s response pointing out my error, and I truly cannot recall
19   where I encountered the information that resulted in this citation.
20           Once I realized my obvious citation error, I addressed the correction in ECF 35, footnote
21   3. In doing so, I never revisited my initial Motion to compare the quotes I entered with any
22   language in Broussard and deeply regret not doing so. Had I, I would have corrected those also.
23           For oral argument, I came prepared with copies of § 3509(d)’s legislative history,
24   specifically the page from the Congressional Record Broussard references. Notably, I did not
25   bring copies of Broussard, as my intent was to incorporate the legislative history substantively
26   into my argument. I recognize now I should have reviewed and brought Broussard, and I should
27   have been prepared to answer this Court’s questions about the “legislative history” quotation and
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1    immediately acknowledged its absence rather than fumbling and sticking with my original
2    argument goals.
3            I also realize now that the Notice of Errata filed December 15, 2024, should have been
4    filed the moment I realized my mistakes after reading the government’s Opposition to my
5    Motion. Filing that Notice likely would have compelled me to review the quotations erroneously
6    attributed to Harris and fix them before the December 9, 2024, hearing. It also would have
7    allowed the government an opportunity to respond to the correct case and evaluate that court’s
8    observations.
9            On December 15, 2024, I filed a Notice of Errata (ECF No. 47) to formally correct the
10   record. In that filing, I acknowledged the same errors stated here, issued apologies to the Court,
11
     opposing counsel, and my client, and outlined the remedial measures I have implemented to
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     ensure accuracy in all future submissions. Lastly, I respect the Court’s finding at the December
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     9, 2024, hearing that the Court sufficiently addressed the Motion’s issues in its Order dated
14
15   October 30, 2024 (ECF No. 24.).

16           B. Human Error, Inattention to Detail, Haste, and Superficial Review Once the
                Government Noted the Error.
17
             My errors and misstatements are consistent with my inadvertent human oversight, not
18
     bad faith or intentional fabrication. I did ask the Court to infer from Broussard more weight than
19
     its language offered. The quotation on page 10 of my Motion reflects my own conclusion upon
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     review of the legislative history, not that of the district judge. Exhibit B also shows my Westlaw
21
     searches for legislative history materials related to § 3509(d)—including terms such as “Crime
22
     Control Act of 1990,” “October 3, 1990,” and “DeWine.” My belief that our analysis of that
23
     history broadly supported our position resulted in a proposition that not only went beyond the
24
     Broussard court’s language but appeared more directly supportive by virtue of being presented
25
     as a quotation. This was not precise, and my failure to double check Broussard for my Reply
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     (ECF No. 35) compounded the error.
27
             C. Corrective Actions Made in Good Faith
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1            Once the government noted my incorrect cite and nonexistent case, I addressed it in my
2    Reply (ECF No. 35) footnote 3, but I should have started my Reply with the content from my
3    Notice of Errata (ECF No. 47), the drafting of which hopefully would have forced me to double
4    check the erroneously quoted materials.
5            At the December 9, 2024, hearing on the Motion to Unseal, the Court questioned me
6    regarding the citation to Harris. I was aware at that time that Harris was an incorrect citation and
7    did not support my argument. However, so focused on emphasizing my analysis of the legislative
8    history, I had not realized the quotation attributed to Broussard was also non-existent—a
9    realization I confirmed only after the hearing.
10           What I had believed to be a minor drafting error by citing Harris, that I incorrectly felt I
11   had sufficiently addressed in my Reply by including the correct citation to the Congressional
12   Record, was not this Court’s focus. I was not prepared for an in-depth discussion of the drafting
13   error itself and, in hindsight and benefiting from my Notice of Errata, I now recognize this was a
14   missed opportunity to express to the Court my acknowledgement of how my mistakes and
15   misstatements disrespected this Court and the government and undermined my client
16   representation. I regret this deeply.
17           Rightfully concerning, I am grateful and sincerely believe my errors did not prejudice the
18   Court, opposing counsel, or the fairness of these proceedings.
19           Finally, with my Office’s assistance, I have implemented specific measures to prevent
20   similar errors in the future, including enhanced proofreading protocols, citation verification using
21   reliable legal databases, and improved time management to allow for thorough final reviews,
22   including by others, before filing. These steps, and my willingness to adopt any others that may
23   aid in preventing similar errors, reflect my ongoing commitment to ensuring the accuracy of all
24   future filings.
25           III. Conclusion
26           I deeply regret my citation and quotation errors and the resulting confusion they have
27   caused. I likewise regret the time this matter has taken from the Court’s attention and resources. I
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1    take full responsibility for the oversights and recognize the gravity of my mistakes.
2            I understand why this Court is concerned. My errors were unintentional, and I had no bad
3    faith, nor did I intend to mislead the Court; however, the Court’s concern is warranted. To
4    address this concern, I intend to follow the remedial measures put in place by my Office, as
5    outlined here and in my Notice of Errata, to ensure all my future filings are accurate, including
6    enhanced proofreading protocols, systematic citation verification and third-person reviews.
7            I respectfully request that the Court accept my explanations, poor and confounding as
8    they may be, and recognize the isolated and inadvertent nature of my errors. I remain committed
9    to upholding the highest standards of professionalism, accuracy, and candor in all future
10   proceedings before this Court, while continuing to represent my client zealously and ethically,
11   consistent with my obligations to the Court, the expectations of the Professional Conduct Rules,
12   and my role as defense counsel.
13    Dated: December 18, 2024
                                                   HEATHER E. WILLIAMS
14                                                 Federal Defender
15
                                                   /s/ANDREW FRANCISCO
16                                                 ANDREW FRANCISCO
                                                   Assistant Federal Defender
17                                                 Attorney for Defendant
                                                   DARAGH FINBAR HAYES
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